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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                :       No. 3:16-CR-220 (AWT)
                                                        :
v.                                                      :
                                                        :
DAVID DEMOS,                                            :
                                                        :
                        Defendant.                      :       April 21, 2017

                       DAVID DEMOS’S SUPPLEMENTAL MOTIONS

        As more fully set forth in the Memorandum of Law in Support of David Demos’s

Supplemental Motion, Defendant David Demos hereby moves for the following relief: (1) a bill

of particulars with respect to Count 3 or, in the alternative, to dismiss that count; (2) to strike the

unconstitutional language from paragraph 4 of the superseding indictment; and (3) to preclude

the government from offering any evidence of uncharged conduct.
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                        Respectfully submitted,

                        DAVID DEMOS


                   By: /s/ Daniel E. Wenner
                       Peter A. Chavkin (PHV08660)
                       Mintz Levin Cohn Ferris Glovsky and Popeo, P.C.
                       Chrysler Center
                       666 Third Avenue
                       New York, NY 10017
                       (212) 692-6231
                       pchavkin@mintz.com

                        Patrick J. Sharkey (CT00654)
                        Mintz Levin Cohn Ferris Glovsky and Popeo, P.C.
                        One Financial Center
                        Boston, MA 02111
                        (617) 348-1819
                        pjsharkey@mintz.com

                        Stanley A. Twardy, Jr. (ct05096)
                        Day Pitney LLP
                        One Canterbury Green
                        201 Broad Street
                        Stamford, Connecticut 06901
                        (203) 977-7300
                        satwardy@daypitney.com

                        — and —

                        Daniel E. Wenner (ct27852)
                        Day Pitney LLP
                        242 Trumbull Street
                        Hartford, Connecticut 06103
                        (860) 275-0100
                        dwenner@daypitney.com

                        His Attorneys




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